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in Re: Mervyn’s Holdings, LLC Case No: 08-11586-KG

UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. if the case is filed under chapter 12 or chapter 13, a married debtor must
furnish information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed
professional, should provide the information requested on this statement concerning all such activities as well as the
individual's personal affairs. Do not include the name or address of a minor child in this statement. Indicate paymenis,
transfers and the like to minor children by stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the
case name, case number (if known), and the number of the question.

DEFINITIONS

"In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or parinership. An
individual debtor is “in business" for the purpose of this form if the debtor is or has been, within six years immediately
preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a
sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business" for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from
the debtor's primary employment.

"Insider." The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner
of 5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and
insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.
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STATEMENT OF FINANCIAL AFFAIRS

GENERAL NOTES REGARDING
THE STATEMENT OF FINANCIAL AFFAIRS

4. Current Market Value. it would be prohibitively expensive and unduly burdensome to obtain current market valuations
of the property interests of Mervyn's Holdings, LLC ("the Debtor"). Accordingly, unless otherwise indicated, net book
values, rather than current market values, of the Debtor's interests in property are refiected on the Debtor's Statement of
Financial Affairs (the "SOFA’).

2. Accuracy. While every effort has been made to file a complete and accurate SOFA, inadvertent errors or omissions
may exist. The Debtor reserves all rights to amend its SOFA as necessary or appropriate.

3. Date. The Debtor commenced the above-referenced Chapter 11 case on July 29, 2008 (the "Commencement Date").
immediately preceding the Commencement Date, in order to establish a clear cut-off between pre- and post-petition
payables for the purposes of the automatic stay and to facilitate proper compliance with GAAP reporting requests, the
Debtor instituted a month-end closing of its books. Except as otherwise noted, the values are representative of the
financial values as of the Commencement Date.
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in Re: Mervyn's Holdings, LLCO Case No: 08-11586-KG

NONE

STATEMENT OF FINANCIAL AFFAIRS

Income from empioyment or operation of business

State the gross amount of income the debtor has received from employment, trade, or profession, or from
operation of the debtor’s business from the beginning of this calendar year to the date this case was
commenced, State also the gross amounts received during the two years immediately preceding this
calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather
than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

income other than from employment or operation of business

State the amount of income received by the debtor other than from employment, trade, profession, or
operation of the debtor's business during the two years immediately preceding the commencement of this
case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors
filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed.)

Payments to creditors Complete a. or b., as appropriate, and c.
Complete a. or b. as appropriate, and c.

a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment
purchases of goods or services, and other debts to any creditor made within 90 days immediately preceding
ihe commencement of this case if the aggregate value of all property that constitutes or is affected by such
transfer is not less than $600. Indicate with an asterisk (“) any payments that were made to a creditor on
account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an
approved nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or
chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any
creditor made within 90 days immediately preceding the commencement of the case If the aggregate value of
all property that constitutes or is affected by such transfer is not less than $5,000. (Married debtors filing
under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is net filed.)

c¢. All debtors: List all payments made within one year immediately preceding the commencement of this
case to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or
chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

SEE EXHIBIT-S3c

Suits and administrative proceedings, executions, garnishments and attachments
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in Re: Mervyn's Holdings, LLC Case No: 08-11586-KG

NONE

x]

NONE

x]

NONE

NONE

[xX]

NONE
[xX]

NONE
IX]

NONE

[xX]

NONE

[x]

STATEMENT OF FINANCIAL AFFAIRS

a. __List all suits and administrative proceedings to which the debtor is or was a party within one year
immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter
13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

b. Describe all property that has been attached, garnished or seized under any legal or equitable process
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
42 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
petition is filed, uniess the spouses are separated and a joint petition is not filed.)

Repossessions, foreciosures and returns

List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

Assignments and receiverships

a. Describe any assignment of property for the benefit of creditors made within 120 days immediately
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses
are separated and a joint petition is not filed.)

b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within
one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include information concerning property of either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of
this case except ordinary and usual gifts to family members aggregating less than $200 in vatue per individual
family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

Losses

List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
commencement of this case or since the commencement of this case. (Married debtors filing under chapter
12 or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including
attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
petition in bankruptcy within one year immediately preceding the commencement of this case.

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NONE

xX]

NONE

x]

NONE

NONE

xX]

NONE
[IX]

NONE
x]

NONE
IX]

10.

11.

12.

13.

14,

15.

16.

STATEMENT OF FINANCIAL AFFAIRS

Other transfers

a. _ List all other property, other than property transferred in the ordinary course of the business or financial
affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must inciude transfers by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

b. _ List ali property transferred by the debtor within ten years immediately preceding the commencement of
this case to a self-settled trust or similar device of which the debtor is a beneficiary.

Closed financial accounts

List ail financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this
case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning accounts or instruments held by or for either or both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed.)

Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash or other
valuables within one year immediately preceding the commencement of this case. (Married debtors filing
under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or nota
joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

Setoffs

List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning either or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

Property held for another person

List all property owned by another person that the debtor holds or controls.

Prior address of debtor

If the debtor has moved within three years immediately preceding the commencement of this case, list all
premises which the debtor occupied during that period and vacated prior to the commencement of this case.
If a joint petition is filed, report also any separate address of either spouse.

Spouses and Former Spouses
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STATEMENT OF FINANCIAL AFFAIRS

NONE
'f the debtor resides or resided in a community property state, commonwealth or territory (including Alaska,
Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
within eight years immediately preceding the commencement of the case, identify the name of the debtor's
spouse and of any former spouse who resides or resided with the debtor in the community property state.

47. Environmental Information
For the purpose of this question, the following definitions apply:
“Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases
of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,

including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

NONE
a. List the name and address of every site for which the debtor has received notice in writing by a
governmentai unit that it may be liable or potentially liable under or in violation of an Environmental Law.
indicate the governmental unit, the date of the notice, and if known, the Environmental Law:
NONE
b. List the name and address of every site for which the debtor provided notice to a governmental unit ofa
release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of
the notice.
NONE
Cc. List all judicial or administrative proceedings, including settlements or orders, under any Environmental
Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental
unit that is or was a party to the proceeding, and the docket number.
18. Nature, location and name of business
NONE
Cl] a. if the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the

businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was a
self-employed in a trade, profession, or other activity either full- or part-time within six years immediately
preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or
equity securities within six years immediately preceding the commencement of this case.

Hf the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities, within six years immediately preceding the commencement of this case.

if the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
the voting or equity securities within six years immediately preceding the commencement of this case.
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STATEMENT OF FINANCIAL AFFAIRS

SEE EXHIBIT-S18a

NONE

b. Identify any business listed in respect to subdivision a., above, that is “single asset real estate” as
defined in 11 U.S.C. § 101.

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following:
an officer, director, managing executive or owner of more than 5 percent of the voting or equity securities of a corporation;
@ pariner, other than a limited partner, of a partnership; a sole proprietor or self-employed in a trade, profession, or other
activity, either full- or part-time. (An individual or joint debtor should complete this portion of the statement only if the debtor
is or has been in business, as defined above, within six years immediately preceding the commencement of this case. A
debtor who has not been in business within those six years should go directly to the signature page.)

19. Books, records and financial statements

NONE
C] a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
bankruptcy case kept or supervised the keeping of books of account and records of the debtor.
SEE EXHIBIT-S19a
NONE
Cl b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case
have audited the books of account and records, or prepared a financial statement of the debtor.
SEE EXHIBIT-S19b
NONE
rl c. List all firms or individuats who at the time of the commencement of this case were in possession of the
books of account and records of the debtor. If any of the books of account and records are not available,
explain.
SEE EXHIBIT-S19¢
NONE
d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to
whom a financial statement was Issued within two years immediately preceding the commencement of this
case by the debtor.
20. Inventories
NONE
a. List the dates of the last two inventories taken of your property, the name of the person who

supervised the taking of each inventory, and the dollar amount and basis of each inventory.
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in Re: Mervyn’s Holdings, LLC Case No: 08-11586-KG

NONE

21.

22.

23.

NONE

24,

NONE

25.

STATEMENT OF FINANCIAL AFFAIRS

b. List the name and address of the person having possession of the records of each of the two
inventories reported in a., above.

Current Partners, Officers, Directors and Shareholders

a. _ If the debtor is a partnership, list the nature and percentage of partnership interest of each member of
the partnership.

b. if the debtor is a corporation, list all the officers and directors of the corporation, and each stockholder
who directly or indirectly owns, controls or holds 5 percent or more of the voting or equity securities of the
corporation,

SEE EXHIBIT-S21b

Former partners, officers, directors and shareholders

a, If the debtor is a partnership, list each member who withdrew from the partnership within one year
immediately preceding the commencement of this case.

b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation
terminated within one year immediately preceding the commencement of this case.

SEE EXHIBIT-S22b

Withdrawais from a partnership or distributions by a corporation

If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other
perquisite during one year immediately preceding the commencement of this case.

SEE EXHIBIT-S23

Tax Consolidation Group.

if the debtor is a corporation, list the name and federal taxpayer identification number of the parent
corporation of any consolidated group for tax purposes of which the debtor has been a member at any time
within six years immediately preceding the commencement of the case.

SEE EXHIBIT-S24

Pension Funds.
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STATEMENT OF FINANCIAL AFFAIRS

NONE
CI If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund

to which the debtor, as an employer, has been responsible for contributing at any time within six years
immediately preceding the commencement of the case.

SEE EXHIBIT-S25
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in Re: Mervyn’s Holdings, LLC Case No: 08-11586-KG
(if completed on behalf of a partnership or corporation}

I declare under penalty of perjury that I have read the answers contained in the foregoing-statement of financial affairs and
any attachments thereto and that they are true and correct fo the best of my knowledge/imfprmation and belief.

Date: 10/27/2008 Signature:
David Robson
Continuation sheets attached: 12 Senior Vice President - Finance

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §. § 152
and 3571,
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STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S-3c

PAYMENTS TO CREDITORS - INSIDERS - 1 YEAR

For a listing of payments to insiders, please see exhibit S-23.
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STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S-18a
NATURE, LOCATION AND NAME OF BUSINESS - WITHIN 6 YEARS

NAME ADDRESS TAXPAYER ID NATURE OF BEGINNING AND ENDING
BUSINESS DATES
Mervyn's LLC 39301 Foothill Boulevard, [| 94-12744556 Name brand 1999 Current
Hayward, CA 94541 promotion and
protection

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STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S8-19a
BOOKKEEPERS AND ACCOUNTANTS - WITHIN 2 YEARS

NAME ADDRESS DATES SERVICES RENDERED
David Robson 22301 Foothill Bivd., Hayward, CA 94541 TON SI2007 Current
Charles R. Kurth 22301 Foothill Blvd., Hayward, CA 94541 5/15/2006 Current

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STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S-19b

AUDITORS OR FINANCIAL STATEMENT PREPARERS- WITHIN 2 YEARS

NAME ADDRESS DATES SERVICES RENDERED CONTACT NAME,
iF FIRM
KPMG 55 Second St., Ste. 1400, San Nov 2006 May 2008 Lou Miramontes
Francisco, CA 94105

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STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S-19¢

POSSESSION OF THE BOOKS OF ACCOUNT AND RECORDS

NAME ADDRESS DATES SERVICES RENDERED | CONTACT NAME,
iF FIRM
David Robson 32301 Foothill Blvd., Hayward, CA 10/15/2007 current N/A
94544
Charles R. Kurth 32301 Foothill Bivd., Hayward, CA 5/15/2006 current N/A
94541

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Case No:

STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S-21b

OFFICERS, DIRECTORS AND SHAREHOLDERS - CORPORATIONS

08-11586-KG

NAME ADDRESS TITLE NATURE AND PERCENTAGE OF
OWNERSHIP
SCSF Mervyn's (US), LLC] 5200 Town Center Circle, | Investor Equity 14.77
Suite 470, Boca Raton, FL
33486
SCSF Mervyns's 5200 Town Center Circle, Investor Equity 36.69
(Offshore), Inc. Suite 470, Boca Raton, FL
33486
Luber-Adler Real Estate [2929 Arch Street, Suite investor Equity 37.5f
Fund iV, LP 1650, Philadelphia, PA
19104-2868
Lubert-Adler Capital Real [2929 Arch Street, Suite Investor Equity 2.466
Estate Fund iV, LP 1650, Philadelphia, PA
19104-2868
Lubert-Adler Real Estate [2929 Arch Street, Suite Investor Equity 4.153
Parallel Fund IV, LP 1650, Philadelphia, PA
19104-2868
A 22307 Foothill Bivd., Officer None
Hayward, CA. 94544
B 22301 Foothill Bivd., Officer None
Hayward, CA. 94541
Cc 22301 Foothill Blyd., Officer None
Hayward, CA. 94541
D 22301 Foothill Blvd., Officer None
Hayward, CA. 94541
E 22301 Foothill Bivd., Officer None
Hayward, CA. 945414
F 22301 Foothill Bivd., Officer None
Hayward, CA, 945414
G 22301 Foothill Bivd., Officer None
Hayward, CA. 94541
H 22301 Foothill Bivd., Officer Equity *
Hayward, CA. 94541
i 22901 Foothill Blvd., Officer None
Hayward, CA. 94541
J 22301 Foothill Bivd., Officer None
Hayward, CA. 94541
K 22301 Foothill Blvc., Officer Equity *
Hayward, CA, 94544
L 22301 Foothill Blvd., Officer Equity *
Hayward, CA. 94541
Mi 22301 Foothill Bivd., Officer None
Hayward, CA. 94541
N 22301 Foothill Bivd., Officer None
Hayward, CA. 94541
0 22301 Foothill Blvd., Officer None
Hayward, CA. 945414
P 22301 Foothill Bivd., Officer Equity ¥
Hayward, CA, 94541
Q 22301 Foothill Blyvd., Officer None
Hayward, CA. 94541
R 22301 Foothill Blvd., Officer None

Hayward, CA. 94541

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STATEMENT OF FINANCIAL AFFAIRS

EXHIBIT S-21b
OFFICERS, DIRECTORS AND SHAREHOLDERS - CORPORATIONS

NAME ADBRESS TITLE NATURE AND PERCENTAGE OF
OWNERSHIP

S 22301 Foothill Bivd., Officer None
Hayward, CA, 945414

7 22301 Foothill Blvd., Officer None
Hayward, CA, 94541

U 22301 Foothill Bivd., Officer None
Hayward, CA. 94541

V 22301 Foothill Bivd., Officer None
Hayward, CA. 94544

W 22301 Foothill Bivd., Officer Equity *
Hayward, CA. 94541

x 22301 Foothill Bivd., Officer Equity *
Hayward, CA. 94541

Y 22301 Foothill Bivd., Officer Equity *
Hayward, CA. 94541

Z 22301 Foothill Bivd., Officer None
Hayward, CA. 94541

BA 22301 Foothill Blvd., Officer None
Hayward, CA. 94541

AB 22301 Foothill Bivd., Officer Equity *
Hayward, CA. 94541

AC 22301 Foothill Bivd., Officer None
Hayward, CA. 94541

in an effort to comply with California privacy laws, employee codes have been provided rather than names. To the extent necessary, actual
employee ID's can be provided.

*In the aggregate, these officers hold less than 2.0% of the non-voting units.
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STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S8-22b

Case No:

08-11586-KG

FORMER OFFICERS, DIRECTORS, AND SHAREHOLDERS - CORPORATIONS

NAME* ADDRESS CITY [STATE ZIP TITLE TERMINATION
DATE
AD P2301 Foothill Blvd, Hayward CA 94541 | CEO 42/17/2007
AE P2301 Foothill Bivd. Hayward CA 94541 | VP/Merchandis 10/26/2007
e Manager -
Childrens
AF 22301 Foothill Bivd. Hayward CA 94541 | SVP/CIO 12/14/2007
AG P2301 Foothill Blvd. Hayward CA 94541 | SVP/General 1/15/2008
Merchandise
Manager -
Home/Center
AH B2301 Foothill Blvd. Hayward CA 94541 | VP/Merchandis 1/18/2008
e Manager -
Shoes
Al b2301 Foothill Blyd. Hayward CA 94541 | SVP Human 1/18/2008
Resources
Ad P2301 Foothill Blvd. Hayward CA 94541 | SVP General 3/31/2008
Counsel/Corp.
Secretary
AK 22301 Foothill Bivd. Hayward CA 94541 | VP/Merchandis 4/1/2008
e Manager -
Misses Apparel
AL P2301 Foon Blvd. Hayward CA 94541 | VP Operations 10/9/2007

*In an effort to comply with California privacy laws, employee codes have been provided rather than names. To the extent necessary, actual

employee ID's can be provided.

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In Re: Mervyn’s Holdings, LLC

Case No:

STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S-23

WITHDRAWALS OR DISTRIBUTIONS CREDITED OR GIVEN TO AN INSIDER - WITHIN 1 YEAR

08-11585-KG

NAME™ ADDRESS IRELATIONSHIP] DISTRIBUTION | PURPOSE OF AMOUNT OR
TO DEBTOR DATE DISTRIBUTION] DESCRIPTION AND
VALUE OF
PROPERTY

K 22301 Foothill Bivd, INSIDER 9/2/2007 Special 9,100.04
Hayward, CA 94541 Distribution

Total: 9,100.01

W 22301 Foothill Blvd, INSIDER 9/2/2007 Special 9,100.01
Hayward, CA 945414 Distribution

Total: 9,100.01

Y 22301 Foothill Blvd, INSIDER 4/1/2008 Special 10,920.01
Hayward, CA 94541 Distribution

Total: 10,920.01

AB 22301 Foothill Bivd, INSIDER 7/5/2008 Special 28,000.02
Hayward, CA 945414 Distribution

Total: 28,000.02

AE 22301 Foothill Bivd, INSIDER 9/2/2007 Special 10,920.01
Hayward, CA 94541 Distribution

Total: 10,926.01

AG 22301 Foothill Blvd, INSIDER 1/31/2008 Special 28,000.02
Hayward, CA 94541 Distribution

Total: 28,600.02

AH 22301 Foothill Biva, INSIDER 9/2/2007 Special 10,920.01
Hayward, CA 94541 Distribution

Total: 10,920.01

Al 22301 Foothill Bivd, INSIDER 9/2/2007 Special 10,920.01
Hayward, CA 94541 Distribution

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in Re: Mervyn’s Holdings, LLC

Case No:

STATEMENT OF FINANCIAL AFFAIRS

EXHIBIT S-23
WITHDRAWALS OR DISTRIBUTIONS CREDITED OR GIVEN TO AN INSIDER - WITHIN 1 YEAR

08-11586-KG

NAME* ADDRESS RELATIONSHIP|DISTRIBUTION | PURPOSE OF ' AMOUNT OR

TO DEBTOR DATE DISTRIBUTION] DESCRIPTION AND

VALUE OF

PROPERTY
Total: 10,920.01
AJ 22301 Foothill Blvd, INSIDER 2/28/2008 Special 10,920.01

Hayward, CA 94541 Distribution

Total: 10,920.01
Grand Total: 428,800.11

*In an effort to comply with California privacy laws, employee codes have been provided rather than names. To the extent necessary, actual
employee ID's can be provided.

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In Re: Mervyn’s Holdings, LLC

Case No: 08-11586-KG

STATEMENT OF FINANCIAL AFFAIRS
EXHIBIT S-24

TAX CONSOLIDATION GROUPS - WITHIN 6 YEARS

| NAME OF CORPORATION | TAXPAYER ID ]
Target Corporation XX-XXXXXXX
Mervyn's Holdings, LLC XX-XXXXXXX

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In Re: Mervyn’s Holdings, LLC

STATEMENT OF FINANCIAL AFFAIRS

EXHIBIT 8-25

PENSION FUNDS - WITHIN 6 YEARS

Case No:

08-11586-KG

NAME OF PLAN PLAN iD #
Mervyn's 407(k) Plan XX-XXXXXXX / 010
Mervyn's Pension Pian 941274456 / 008

